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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


STEPHEN KRAKOWER,
                              Plaintiff,                             ANSWER
       -against-
CONTINENTAL PLANTS GROUP, LLC,                                       Civil Action No.
REID KRAKOWER and ANDREW LEVINSON,                                   1:14-cv-01036-LEK-DEP


                              Defendants.



       Defendants, Continental Plants Group, LLC ("CPG"), Reid Krakower ("RK") and

Andrew Levinson ("AL"), as and for their Answer to Plaintiffs Complaint, dated July 21, 2014

(hereinafter "the Complaint"), by and through their undersigned attorneys McNamee, Lochner,

Titus & Williams, P.C., hereby respond as follows:

                                           INTRODUCTION


       With respect to the allegations contained in Paragraph "Introduction" of the Complaint,

defendants admit that plaintiff purports to assert that he has commenced an action based on

certain legal theories, and deny all remaining allegations contained in this Paragraph.

                                           THE PARTIES


       1.      Defendants deny knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph "1" of the Complaint.

       2.      Defendants admit the allegations contained in Paragraph "2" of the Complaint.

       3.      Defendants admit the allegations contained in Paragraph "3" of the Complaint.

       4.      Defendants admit the allegations contained in Paragraph "4" of the Complaint.
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                                    JURISDICTION AND VENUE


              5.    With respect to the allegations contained in Paragraph "5" of the Complaint,

defendants admit that plaintiff purports to invoke the personal jurisdiction of this Court over

CPG, and deny all remaining allegations contained in this paragraph.

              6.    With respect to the allegations contained in Paragraph "6" of the Complaint,

defendants admit that plaintiff purports to invoke the personal jurisdiction of this Court over RK,

and deny all remaining allegations contained in this paragraph.

              7.    With respect to the allegations contained in Paragraph "7" of the Complaint,

defendants admit that plaintiff purports to invoke the personal jurisdiction of this Court over AL,

and deny all remaining allegations contained in this paragraph.

              8.    With respect to the allegations contained in Paragraph "8" of the Complaint,

defendants admit that plaintiff purports to reside in the County of Saratoga and deny all

remaining allegations contained in this paragraph.

                                     FACTUAL BACKGROUND


Continental's Business


              9.    With respect to the allegations contained in Paragraph "9" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

              10.   With respect to the allegations contained in Paragraph "10" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

              11.   With respect to the allegations contained in Paragraph "11" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

              12.   With respect to the allegations contained in Paragraph "12" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.




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            13.   With respect to the allegations contained in Paragraph "13" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

            14.   With respect to the allegations contained in Paragraph "14" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

            15.   With respect to the allegations contained in Paragraph "15" of the Complaint,

defendants admit that CPG performs the services alleged, as well as other services not alleged.

Krakower's Job Duties at Continental


            16.   With respect to the allegations contained in Paragraph "16" of the Complaint,

defendants refer to the content of the writing referenced therein, and to the extent Plaintiff has

mis-characterized or otherwise inaccurately paraphrased the content of said writing, Defendants

deny such allegations, including the allegation that said e-mail constituted an offer of

employment

            17.   With respect to the allegations contained in Paragraph "17" of the Complaint,

defendants deny that the referenced e-mail represented a "job offer", but admit that Plaintiff

began providing services to CPG at or about the time frame alleged.

            18.   With respect to the allegations contained in Paragraph "18" of the Complaint,

defendants admit that the individuals referenced were employed by CPG, and held the positions

referenced therein, but deny the remaining allegations set forth therein.

            19.   With respect to the allegations contained in Paragraph "19" of the Complaint,

defendants admit that CPG is a small company, and that individuals often perform multiple roles,

but deny the remaining allegations set forth therein.

            20.   With respect to the allegations contained in Paragraph "20" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or




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did not do, however, CPG funded the cost of maintaining office space that Plaintiff was able to

use, and that Plaintiff did travel from time to time.

        21.     With respect to the allegations contained in Paragraph "21" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, however, defendants admit that Plaintiff had the discretion to choose the manner in

which to complete the necessary tasks on a project-by-project basis.

        22.     With respect to the allegations contained in Paragraph "21" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, however, defendants admit that Plaintiff had the discretion to choose the manner in

which to complete the necessary tasks on a project-by-project basis, and also admit that

Plaintiffs activities involved intermittent travel.


       23.      With respect to the allegations contained in Paragraph "23" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, however, defendants admit that Plaintiff had the discretion to choose the manner in

which to complete the necessary tasks on a project-by-project basis, and also admit that

Plaintiffs activities involved intermittent travel.


       24.      With respect to the allegations contained in Paragraph "24" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, however, defendants deny that CPG tasked Plaintiff to engage in "business

development".

       25.      With respect to the allegations contained in Paragraph "25" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, however, defendants deny that CPG tasked Plaintiff to engage in "identifying . . .
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prospective client[s]", and admit that Plaintiff was tangentially involved in conversations

concerning the process of preparing proposals for services.

              26.   Defendants deny the allegations contained in Paragraph "26" of the Complaint.

              27.   Defendants deny the allegations contained in Paragraph "27" of the Complaint.

              28.   Defendants deny the allegations contained in Paragraph "28" of the Complaint.

              29.   Defendants deny the allegations set forth in Paragraph "29", but admit that

Plaintiff was paid for all services that he rendered to CPG, and that CPG reimbursed reasonable

travel expenses relating to the work performed.

Continental Suspends Krakower's Pay

              30.   With respect to the allegations contained in Paragraph "30" of the Complaint,

defendants deny that AL made the specific representations alleged, but admit that, at or about the

time alleged, CPG informed Plaintiff that his services were no longer needed on a regular basis,

and the CPG would consider using Plaintiffs services on an intermittent and project-specific

basis going forward.

              31.   With respect to the allegations contained in Paragraph "31" of the Complaint,

defendants deny that AL made any representation to Plaintiff to the effect that Plaintiff would

not be paid for "earned wages".

              32.   With respect to the allegations contained in Paragraph "32" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff did or

did not do, and what Plaintiff did or did not "want[] to do".

              33.   With respect to the allegations contained in Paragraph "33" of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to what Plaintiff

"believed", but deny that CPG's actions or statements suggested, or otherwise communicated a




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reasonable basis to believe, that Plaintiff would be paid an annual salary, despite being informed

that CPG no longer needed his services on a regular basis, but that his services would be

requested on an intermittent and project-by-project basis instead.

Continental Does Not Pay Krakower All His 2009 Earned Wages

            34.   Defendants deny the allegations contained in Paragraph "34" of the Complaint.

            35.   Defendants deny the allegations contained in Paragraph "35" of the Complaint.

            36.   Defendants deny the allegations contained in Paragraph "36" of the Complaint.

            37.   Defendants deny the allegations contained in Paragraph "37" of the Complaint.

            38.   Defendants deny the allegations contained in Paragraph "38" of the Complaint.

Continental Does Not Pay Krakower All His 2010 Earned Wages

            39.   Defendants deny the allegations contained in Paragraph "39" of the Complaint.

            40.   Defendants deny the allegations contained in Paragraph "40" of the Complaint,

but admit that Plaintiff was paid for all services actually rendered by him on behalf of CPG, and

all reasonable expenses incurred by him in connection with the rendering of such services, were

reimbursed.


            41.   Defendants deny the allegations contained in Paragraph "41" of the Complaint.

            42.   Defendants deny the allegations contained in Paragraph "42" of the Complaint.

Continental Does Not Pay Krakower All His 2011 Earned Wages

            43.   Defendants deny the allegations contained in Paragraph "43" of the Complaint.

            44.   With respect to the allegations contained in Paragraph "44" of the Complaint,

Defendants admit that CPG paid Plaintiff the sum of $30,000 in 2011, and reimbursed him for

certain expenses incurred during that time, but deny the remaining allegations of this Prapagraph.

            45.   Defendants deny the allegations contained in Paragraph "45" of the Complaint.




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        46.     Defendants deny the allegations contained in Paragraph "46" of the Complaint.

Despite Multiple Requests, Continental Refused to Pay Krakower All His Earned Wages

        47.     Defendants deny the allegations contained in Paragraph "47" of the Complaint.

        48.     Defendants deny the allegations contained in Paragraph "48" of the Complaint.

        49.     Defendants deny the allegations contained in Paragraph "49" of the Complaint.

        50.     Defendants deny the allegations contained in Paragraph "50" of the Complaint.

        51.     Defendants deny the allegations contained in Paragraph "51" of the Complaint.

        52.     Defendants deny the allegations contained in Paragraph "52" of the Complaint.

        53.     Defendants deny the allegations contained in Paragraph "53" of the Complaint.

        54.     Defendants deny the allegations contained in Paragraph "54" of the Complaint.

        55.     Defendants admit the allegations contained in Paragraph "55" of the Complaint.

        56.     With respect to the allegations contained in Paragraph "56" of the Complaint,

defendants admit that Plaintiff transmitted a self-serving e-mail, dated January 9, 2012, and

defendants refer to the text of that e-mail for an accurate rendition of its contents. To the extent


Paragraph "56" fails to accurately reflect the content of that e-mail, defendants deny such

allegations.

        57.     Defendants deny the allegations contained in Paragraph "57" of the Complaint.

        58.     Defendants deny the allegations contained in Paragraph "58" of the Complaint.

                  COUNT I (FLSA Minimum Wage and Overtime Violation)
                               (Against All Defendants)

        59.     With respect to the allegations contained in Paragraph "59" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.
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              60.   Defendants neither admit nor deny the allegations contained in Paragraph "60" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.

              61.   Defendants neither admit nor deny the allegations contained in Paragraph "61" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.

              62.   Defendants deny the allegations set forth in Paragraph "62" of the Complaint.

              63.   With respect to the allegations contained in Paragraph "63" of the Complaint,

defendants admit that RK and AL were involved in the day-to-day operations of CPG, and that

each had certain responsibilities and authority as concerns CPG, but deny the remaining

allegations of said Paragraph.

              64.   The allegations contained in Paragraph "64" of the Complaint call for legal

conclusions to which no response is required.           To the extent that a response is required,

defendant denies the allegations contained in this Paragraph.

              65.   Defendants deny the allegations contained in Paragraph "65" of the Complaint.

              66.   Defendants deny the allegations contained in Paragraph "66" of the Complaint.

              67.   Defendants deny the allegations contained in Paragraph "67" of the Complaint.

              68.   Defendants deny the allegations contained in Paragraph "68" of the Complaint.

                              COUNT II (NYLL Unpaid Wage Violation)
                                    (Against All Defendants)

              69.   With respect to the allegations contained in Paragraph "69" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.




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              70.   Defendants neither admit nor deny the allegations contained in Paragraph "70" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.

              71.   Defendants neither admit nor deny the allegations contained in Paragraph "71" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.

              72.   Defendants neither admit nor deny the allegations contained in Paragraph "72" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph

              73.   Defendants deny the allegations contained in Paragraph "73" of the Complaint.

              74.   Defendants deny the allegations contained in Paragraph "74" of the Complaint.

                    COUNT III (NYLL Minimum Wage and Overtime Violation)
                                  (Against All Defendants)

              75.   With respect to the allegations contained in Paragraph "75" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.

              76.   Defendants neither admit nor deny the allegations contained in Paragraph "76" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.

              77.   Defendants neither admit nor deny the allegations contained in Paragraph "77" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Courtto the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph.




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            78.   Defendants neither admit nor deny the allegations contained in Paragraph "78" of

the Complaint to the extent that they call for legal conclusions, respectfully refer the Court to the

statute(s) referenced by plaintiffs, and deny all remaining allegations contained in this Paragraph

            79.   Defendants deny the allegations contained in Paragraph "79" of the Complaint.

            80.   Defendants deny the allegations contained in Paragraph "80" of the Complaint.

            81.   Defendants deny the allegations contained in Paragraph "81" of the Complaint.

                           COUNT IV (NYLL Spread of Hour Violation)
                                  (Against Both Defendants)

            82.   With respect to the allegations contained in Paragraph "82" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.

            83.   Defendants deny the allegations contained in Paragraph "83" of the Complaint.

            84.   Defendants deny the allegations contained in Paragraph "84" of the Complaint.

            85.   Defendants deny the allegations contained in Paragraph "85" of the Complaint.

            86.   Defendants deny the allegations contained in Paragraph "86" of the Complaint.

            87.   Defendants deny the allegations contained in Paragraph "87" of the Complaint.

                          COUNT V (NYLL Statement of Wages Violation)
                                   (Against All Defendants)

            88.   With respect to the allegations contained in Paragraph "88" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.

            89.   Defendants deny the allegations contained in Paragraph "89" of the Complaint.

            90.   Defendants deny the allegations contained in Paragraph "90" of the Complaint.

            91.   Defendants deny the allegations contained in Paragraph"91" of the Complaint.




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                                     COUNT VI (Breach of Contract)
                                        (Against Continental)

              92.    With respect to the allegations contained in Paragraph "92" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.

              93.    Defendants deny the allegations contained in Paragraph "93" of the Complaint.

              94.    Defendants deny the allegations contained in Paragraph "94" of the Complaint.

              95.    Defendants deny the allegations contained in Paragraph "95" of the Complaint.

              96.    Defendants deny the allegations contained in Paragraph "96" of the Complaint.

                                    COUNT VII (Unjust Enrichment)
                                       (Against Continental)

              97.    With respect to the allegations contained in Paragraph "97" of the Complaint,

defendants reallege and incorporate by reference their answers to all previous paragraphs, as if

set forth fully herein.

              98.    Defendants deny the allegations contained in Paragraph "98" of the Complaint.

              99.    Defendants deny the allegations contained in Paragraph "99" of the Complaint.

              100.   Defendants deny the allegations contained in Paragraph "100" of the Complaint.

                                       AFFIRMATIVE DEFENSES


              Defendants allege the following separate and independent affirmative defenses to the

Complaint, without assuming the burden of proof where such burden is otherwise on Plaintiff

pursuant to applicable substantive or procedural law.

                                   FIRST AFFIRMATIVE DEFENSE


              1.     The Complaint fails, in whole or in part, to state a claim upon which relief may be

granted.




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                                SECOND AFFIRMATIVE DEFENSE


              2.   Plaintiffs claims are barred, in whole or in part, by the applicable statute of

limitations.


                                 THIRD AFFIRMATIVE DEFENSE


              3.   Plaintiff is not entitled to overtime compensation because he was exempt from the

overtime provisions of the Fair Labor Standards Act under one or more exemptions, or

combination of exemptions.

                               FOURTH AFFIRMATIVE DEFENSE


              4.   Plaintiff is exempt from coverage under the New York Labor Law, and therefore

not entitled to overtime compensation.

                                 FIFTH AFFIRMATIVE DEFENSE


              5.   Plaintiffs claims are barred, in whole or in part, by statutory exclusions,

exceptions or credits under the Fair Labor Standards Act or state law.

                                 SIXTH AFFIRMATIVE DEFENSE


              6.   If Defendants' failure to pay overtime wages was unlawful, although such is not

admitted, Defendants had a good faith and reasonable belief that the failure to pay such wages

was not unlawful.


                               SEVENTH AFFIRMATIVE DEFENSE


              7.   Defendants' failure to pay Plaintiff overtime wages was in good faith in

conformity with and in reliance on an administrative regulation, order, ruling, approval,

interpretation, administrative practice and/or enforcement policy of the United States Department

of Labor.




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                              EIGHTH AFFIRMATIVE DEFENSE


       8.        Defendants had a good faith basis to believe that any underpayment of wages to

Plaintiff was in compliance with the New York Labor Law, and therefore Plaintiff is not entitled

to a liquidated damages payment under the New York Labor Law.

                               NINTH AFFIRMATIVE DEFENSE


       9.        Plaintiffs claims are barred, in whole or in part, because Plaintiff has not

sustained any injury or damage by reason of any act or omission of Defendants.

                               TENTH AFFIRMATIVE DEFENSE


       10.       Plaintiff has received full payment for all work performed

                            ELEVENTH AFFIRMATIVE DEFENSE


       11.       Defendants are entitled to an offset against any amounts due (which are denied),

an amount equal to the amount Defendants paid, or overpaid, the Plaintiff, including any

amounts paid to the Plaintiff under the "fluctuating workweek" provisions of the Fair Labor

Standards Act.


                             TWELFTH AFFIRMATIVE DEFENSE


        12.      Plaintiffs claims for relief are barred because any recovery from Defendants

would result in the unjust enrichment of Plaintiff.

                          THIRTEENTH AFFIRMATIVE DEFENSE


       13.       The Complaint fails, in whole or in part, because the claims contained therein are

barred by the wage and hours' de minimis exception.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        14.      Plaintiffs claims relate in part to alleged time constituting preliminary and

postliminary activities under the Portal to Portal Act.




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                                FIFTEENTH AFFIRMATIVE DEFENSE


              15.   The Complaint fails, in whole or in part, because Plaintiff may not recover

liquidated damages and/or prejudgment interest.

                               SIXTEENTH AFFIRMATIVE DEFENSE


              16.   The Complaint fails, in whole or in part, because the claims contained therein are

barred by the labor law preemption doctrine.

                             SEVENTEENTH AFFIRMATIVE DEFENSE


              17.   One or more of Plaintiff s claims are barred by the Statute of Frauds.

                              EIGHTEENTH AFFIRMATIVE DEFENSE


              18.   One or more of Plaintiffs claims are barred by Plaintiffs material breach of

contract.


                              NINETEENTH AFFIRMATIVE DEFENSE


              19.   One or more of Plaintiffs claims are barred by Plaintiffs anticipatory

repudiation.

                              TWENTIETH AFFIRMATIVE DEFENSE


              20.   One or more of Plaintiff s claims are barred by the absence of consideration.

                            TWENTY-FIRST AFFIRMATIVE DEFENSE


              21.   One or more of Plaintiff s claims are barred by the doctrine of waiver.

                           TWENTY-SECONDAFFIRMATIVE DEFENSE


              22.   One or more of Plaintiff s claims are barred by the doctrine of release.

                            TWENTY-THIRD AFFIRMATIVE DEFENSE


              23.   One or more of Plaintiff s claims are barred by the doctrine of novation.




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                      TWENTY-FOURTH AFFIRMATIVE DEFENSE


       24.     One or more of Plaintiff s claims are barred by the doctrine of estoppel.

       Defendants presently have insufficient knowledge or information as to whether they may

have additional, yet unasserted, affirmative defenses. Defendants therefore reserve the right to

assert additional affirmative defenses in the event discovery or further proceedings indicate such

additional defenses would be appropriate.

                                    PRAYER FOR RELIEF


       WHEREFORE, defendants respectfully request that this Court enter an order dismissing

the Complaint herein, with prejudice, and with an award of all appropriate fees and costs to

defendants, including legal fees, together with such other and further relief as to the Court may

seem just and reasonable.

Dated: Albany, New York
       September 30, 2014
                                     McNAMEE, LOC                       & WILLIAMS, P.C.



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